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 1   SEYFARTH SHAW LLP
     M. Ryan Pinkston (SBN 310971)
 2   rpinkston@seyfarth.com
     Brandon K. Franklin (SBN 303373)
 3   bfranklin@seyfarth.com
     560 Mission Street, 31st Floor
 4   San Francisco, California 94105
     Telephone:    (415) 397-2823
 5   Facsimile:    (415) 397-8549

 6   Attorneys for Plaintiffs
     THE PRUDENTIAL INSURANCE COMPANY OF
 7   AMERICA; and PGIM REAL ESTATE FINANCE, LLC

 8
                                      UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11
     THE PRUDENTIAL INSURANCE COMPANY                      Case No.
12   OF AMERICA; and PGIM REAL ESTATE
     FINANCE, LLC,                                         COMPLAINT FOR:
13
                       Plaintiffs,                         1) BREACH OF CONTRACT,
14                                                            APPOINTMENT OF RECEIVER,
              v.                                              ACCOUNTING AND SPECIFIC
15                                                            PERFORMANCE OF RENTS-AND-
     ACDF, LLC; ASSEMI AND SONS, INC.;                        PROFITS CLAUSE; AND
16   AVILA RANCH EA, LLC; BEAR FLAG
     FARMS, LLC; C & A FARMS, LLC; CANTUA                  2) INJUNCTIVE RELIEF
17   ORCHARDS, LLC; DA REAL ESTATE
     HOLDINGS, LLC; FAVIER RANCH, LLC; FG2
18   HOLDINGS LLC; GRADON FARMS, LLC;
     GRANVILLE FARMS, LLC; GRANTLAND
19   HOLDINGS NO. 1, LLC; GRANTLAND
     HOLDINGS NO. 2, LLC; GRANTOR REAL
20   ESTATE INVESTMENTS, LLC; GVM
     INVESTMENTS, LLC; GV AG, LLC; LINCOLN
21   GRANTOR FARMS, LLC; MARICOPA
     ORCHARDS, LLC; PANOCHE PISTACHIOS,
22   LLC; SAGEBERRY FARMS, LLC; DEREK
     BELL; and RACHEL MARIE WHITE,
23
                       Defendants.
24

25            COMES NOW PLAINTIFFS THE PRUDENTIAL INSURANCE COMPANY OF AMERICA, a
26   New Jersey corporation (“Prudential”) and PGIM REAL ESTATE FINANCE, LLC, a Delaware limited
27   liability company (“PGIM REF” and together with Prudential, “Plaintiff”) each in its own capacity as a
28   lender and PGIM REF also in its capacity as special servicer for and on behalf of PAR U HARTFORD


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 1   LIFE & ANNUITY COMFORT TRUST, a New York trust (“Hartford Trust” and together with

 2   Plaintiff, “Lender”), for its causes of action against Defendants ACDF, LLC, a California limited liability

 3   company (“ACDF”), ASSEMI AND SONS, INC., a California corporation (“Assemi”), AVILA RANCH

 4   EA, LLC, a California limited liability company (“Avila”), BEAR FLAG FARMS, LLC, a California

 5   limited liability company (“Bear Flag”), C & A FARMS, LLC, a California limited liability company

 6   (“C & A”), CANTUA ORCHARDS, LLC, a California limited liability company (“Cantua”), DA REAL

 7   ESTATE HOLDINGS, LLC, a California limited liability company (“DA Real Estate”), FAVIER

 8   RANCH, LLC, a California limited liability company (“Favier”), FG2 HOLDINGS LLC, a California

 9   limited liability company (“FG2”), GRADON FARMS, LLC, a California limited liability company
10   (“Gradon”), GRANVILLE FARMS, LLC, a California limited liability company (“Granville”),

11   GRANTLAND HOLDINGS NO. 1, LLC, a California limited liability company (“Grantland 1”),

12   GRANTLAND HOLDINGS NO. 2, LLC, a California limited liability company (“Grantland 2”),

13   GRANTOR REAL ESTATE INVESTMENTS, LLC, a California limited liability company (“Grantor

14   Investments”), GVM INVESTMENTS, LLC, a California limited liability company (“GVM”), GV AG,

15   LLC, a California limited liability company (“GV AG”), LINCOLN GRANTOR FARMS, LLC, a

16   California limited liability company (“Lincoln”), MARICOPA ORCHARDS, LLC, a California limited

17   liability company (“Maricopa”), PANOCHE PISTACHIOS, LLC (“Panoche”), a California limited

18   liability company, SAGEBERRY FARMS, LLC, a California limited liability company (“Sageberry”

19   and, collectively, “Borrower”), and DEREK BELL and RACHEL MARIE WHITE, each an individual
20   (together with Borrower, “Defendant”), which hereby complains and alleges as follows:

21                                               INTRODUCTION
22            1.    Borrower breached its various Loan Documents (defined below) with Plaintiff. As a result,

23   Plaintiff seeks the appointment of a receiver, an accounting, and specific performance of the right to

24   possession and rents and profits clauses in the Instruments (defined below), in addition to injunctive relief

25   in connection with the enforcement of over $700 million in certain Loans (defined below) provided by

26   Lender to Borrower. One of the Loans has been in default since February 2024, and the other Loans have

27   been in default since June 2024. These defaults stem from, among other things, Borrower’s failure to pay

28   one of the Notes (defined below) in full upon its maturity, failing to pay the semi-annual payments due on
                                                         2
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 1   July 1, 2024 for all but one Note, and defaults on loans with third-parties, causing approximately

 2   $150,000,000 to be accelerated under those third-party loans.

 3            2.     Unless a receiver is appointed to, among other things, protect and manage the Property

 4   (defined below), there is a real danger that the Property will suffer waste and/or other harm, resulting in

 5   irreparable injury to Plaintiff’s rights thereto.

 6            3.     Specifically, the Property consists of, among other things, over 50,000 acres of farmland

 7   and a significant number of pistachio and almond trees. The trees represent a significant portion of the

 8   value of the Property and, as a result, a significant portion of Lender’s collateral. This farmland requires

 9   regular care, without which the trees thereon may be damaged or may die. Borrower has informed Lender
10   that, due to operational cash flow issues, it may cease all such care immediately and terminate, in whole

11   or in part, its numerous employees onsite.

12            4.     Plaintiff is entitled to the relief requested. The Loans are in default and, due to the

13   acceleration of the Loans, the total outstanding principal and interest due on the Loans (exclusive of fees,

14   costs, and other amounts due and owing thereunder) is no less than $705,144,545.49, which is due, owing,

15   and unpaid as of July 1, 2024.

16                                                  THE PARTIES

17            5.     Prudential is, and at all times mentioned herein was, a New Jersey corporation organized

18   and existing under and by virtue of the laws of the State of New Jersey and authorized to do business in

19   the state of California, with its principal place of business located in Newark, New Jersey.
20            6.     PGIM REF is, and at all times mentioned herein was, a Delaware limited liability company

21   organized and existing under and by virtue of the laws of the State of Delaware and authorized to do

22   business in the state of California. PGIM REF is wholly owned by PGIM Real Estate Finance Holding

23   Company, a New Jersey corporation organized and existing under and by virtue of the laws of the State

24   of New Jersey, with its principal place of business located in Newark, New Jersey.

25            7.     Each Lender has had, and continues to have, a valid lien on the Property at all times

26   mentioned herein.

27            8.     Plaintiff is informed and believes that Defendant ACDF is, and at all times mentioned

28   herein was, a California limited liability company licensed to do business in the State of California and
                                                         3
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 1   with its principal place of business in the State of California. Plaintiff is informed and believes that ACDF

 2   is owned by: (i) the FARID ASSEMI REVOCABLE TRUST DATED JANUARY 24, 2007, now known

 3   as the FIFTH AMENDED AND RESTATED FARID ASSEMI REVOCABLE TRUST DATED APRIL

 4   28, 2021 (the “Farid Assemi Revocable Trust”), the Trustee of which is FARID ASSEMI, a citizen of

 5   California; (ii) the DARIUS ASSEMI REVOCABLE TRUST DATED JANUARY 30, 2007, now known

 6   as the AMENDED AND RESTATED DARIUS ASSEMI REVOCABLE TRUST DATED MARCH 2,

 7   2010, AS AMENDED (the “Darius Assemi Revocable Trust”), the Trustee of which is DARIUS

 8   ASSEMI, a citizen of California; and (iii) the FARSHID ASSEMI AND SONIA ROSEMARY ASSEMI

 9   REVOCABLE TRUST DATED JANUARY 31, 2007, now known as the AMENDED AND RESTATED
10   FARSHID ASSEMI AND SONIA ROSEMARY ASSEMI REVOCABLE TRUST DATED MARCH 2,

11   2010, AS AMENDED (the “Farshid and Sonia Assemi Revocable Trust”), the Co-Trustees of which

12   are FARSHID ASSEMI and SONIA ROSEMARY ASSEMI, citizens of California. As the Trustees of

13   each trust that owns ACDF are California citizens, ACDF is a citizen of California for purposes of

14   diversity jurisdiction.

15            9.     Plaintiff is informed and believes that Defendant Assemi is, and at all times mentioned

16   herein was, a California corporation licensed to do business in the State of California and with its principal

17   place of business in the State of California. Plaintiff is informed and believes that Assemi is wholly owned

18   by West Fern Investments, Inc., a California corporation with its principal place of business in

19   Fresno, California.
20            10.    Plaintiff is informed and believes that Defendant Avila is, and at all times mentioned herein

21   was, a California limited liability company licensed to do business in the State of California and with its

22   principal place of business in the State of California. Plaintiff is informed and believes that Avila is owned

23   by: (i) the Farshid and Sonia Assemi Revocable Trust; and (ii) the FARID ASSEMI 2010 GRANTOR

24   TRUST DATED DECEMBER 30, 2010 (the “Farid Assemi Grantor Trust”), the Trustee of which is

25   NEEMA ASSEMI, a citizen of California. As the Trustees of each trust that owns Avila are California

26   citizens, Avila is a citizen of California for purposes of diversity jurisdiction.

27            11.    Plaintiff is informed and believes that Defendant Bear Flag is, and at all times mentioned

28   herein was, a California limited liability company licensed to do business in the State of California and
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 1   with its principal place of business in the State of California. Plaintiff is informed and believes that Bear

 2   Flag is owned by: (i) the Darius Assemi Revocable Trust; (ii) the Farshid and Sonia Assemi Revocable

 3   Trust; and (iii) the Farid Assemi Grantor Trust. As the Trustees of each trust that owns Bear Flag are

 4   California citizens, Bear Flag is a citizen of California for purposes of diversity jurisdiction.

 5            12.    Plaintiff is informed and believes that Defendant C & A is, and at all times mentioned

 6   herein was, a California limited liability company licensed to do business in the State of California and

 7   with its principal place of business in the State of California. Plaintiff is informed and believes that C &

 8   A is owned by: (i) the Darius Assemi Revocable Trust; (ii) the FARID ASSEMI 1997 RANCH TRUST

 9   DATED JUNE 30, 1997 (the “Farid Assemi 1997 Ranch Trust”), the Co-Trustees of which are
10   FARSHID ASSEMI and NEEMA ELIOT ASSEMI, citizens of California; (iii) the Farid Assemi

11   Revocable Trust; (iv) the FARSHID ASSEMI 1997 RANCH TRUST DATED JUNE 30, 1997

12   (the “Farshid Assemi 1997 Ranch Trust”), the Trustee of which is FARID ASSEMI, a California citizen;

13   and (v) the Farshid and Sonia Assemi Revocable Trust. As the Trustees of each trust that owns C & A are

14   California citizens, C & A is a citizen of California for purposes of diversity jurisdiction.

15            13.    Plaintiff is informed and believes that Defendant Cantua is, and at all times mentioned

16   herein was, a California limited liability company licensed to do business in the State of California and

17   with its principal place of business in the State of California. Plaintiff is informed and believes that Cantua

18   is owned by: (i) the Darius Assemi Revocable Trust; (ii) the Farid Assemi Revocable Trust; (iii) the

19   Farshid Assemi 1997 Ranch Trust; (iv) the Farid Assemi 1997 Ranch Trust; and (v) the Farshid and Sonia
20   Assemi Revocable Trust. As the Trustees of each trust that owns Cantua are California citizens, Cantua is

21   a citizen of California for purposes of diversity jurisdiction.

22            14.    Plaintiff is informed and believes that Defendant DA Real Estate is, and at all times

23   mentioned herein was, a California limited liability company licensed to do business in the State of

24   California and with its principal place of business in the State of California. Plaintiff is informed and

25   believes that DA Real Estate is owned by the Darius Assemi Revocable Trust. As the Trustee of the trust

26   that owns DA Real Estate is a California citizen, DA Real Estate is a citizen of California for purposes of

27   diversity jurisdiction.

28
                                                          5
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 1            15.    Plaintiff is informed and believes that Defendant Favier is, and at all times mentioned

 2   herein was, a California limited liability company licensed to do business in the State of California and

 3   with its principal place of business in the State of California. Plaintiff is informed and believes that Favier

 4   is owned by: (i) the Darius Assemi Revocable Trust; (ii) the FARSHID AND SONIA ASSEMI 2010

 5   GRANTOR TRUST DATED DECEMBER 30, 2010 (the “Farshid and Sonia Assemi Grantor Trust”),

 6   the Trustee of which is MELISSA LAYNE, a California citizen; and (iii) the Farid Assemi 2010 Grantor

 7   Trust. As the Trustees of each trust that owns Favier are California citizens, Favier is a citizen of California

 8   for purposes of diversity jurisdiction.

 9            16.    Plaintiff is informed and believes that Defendant FG2 is, and at all times mentioned herein
10   was, a California limited liability company licensed to do business in the State of California and with its

11   principal place of business in the State of California. Plaintiff is informed and believes that FG2 is owned

12   by: (i) the Farshid and Sonia Assemi Grantor Trust; and (ii) the Farid Assemi 2010 Grantor Trust. As the

13   Trustees of each trust that owns FG2 are California citizens, FG2 is a citizen of California for purposes of

14   diversity jurisdiction.

15            17.    Plaintiff is informed and believes that Defendant Gradon is, and at all times mentioned

16   herein was, a California limited liability company licensed to do business in the State of California and

17   with its principal place of business in the State of California. Plaintiff is informed and believes that Gradon

18   is owned by: (i) the DARIUS ASSEMI REVOCABLE TRUST DATED JANUARY 30, 2007, now known

19   as the AMENDED AND RESTATED DARIUS ASSEMI REVOCABLE TRUST DATED MARCH 2,
20   2010, AS AMENDED (the “Darius Assemi Revocable Trust”), the Trustee of which is DARIUS

21   ASSEMI; (ii) the Farshid and Sonia Assemi Grantor Trust; and (iii) the Farid Assemi 2010 Grantor Trust.

22   As the Trustees of each trust that owns Gradon are California citizens, Gradon is a citizen of California

23   for purposes of diversity jurisdiction.

24            18.    Plaintiff is informed and believes that Defendant Granville is, and at all times mentioned

25   herein was, a California limited liability company licensed to do business in the State of California and

26   with its principal place of business in the State of California. Plaintiff is informed and believes that

27   Granville is owned by: (i) the Farid Assemi Revocable Trust; (ii) the Farshid Assemi 1997 Ranch Trust;

28   (iii) the Farid Assemi 1997 Ranch Trust; and (iv) the Farshid and Sonia Assemi Revocable Trust. As the
                                                           6
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 1   Trustees of each trust that owns Granville are California citizens, Granville is a citizen of California for

 2   purposes of diversity jurisdiction.

 3            19.    Plaintiff is informed and believes that Defendant Grantland 1 is, and at all times mentioned

 4   herein was, a California limited liability company licensed to do business in the State of California and

 5   with its principal place of business in the State of California. Plaintiff is informed and believes that

 6   Grantland 1 is owned by the Farid Assemi 1997 Ranch Trust. As the Trustee of the trust that owns

 7   Grantland 1 is a California citizen, Grantland 1 is a citizen of California for purposes of

 8   diversity jurisdiction.

 9            20.    Plaintiff is informed and believes that Defendant Grantland 2 is, and at all times mentioned
10   herein was, a California limited liability company licensed to do business in the State of California and

11   with its principal place of business in the State of California. Plaintiff is informed and believes that

12   Grantland 2 is owned by the Farshid Assemi 1997 Ranch Trust. As the Trustee of the trust that owns

13   Grantland 2 is a California citizen, Grantland 2 is a citizen of California for purposes of

14   diversity jurisdiction.

15            21.    Plaintiff is informed and believes that Defendant Grantor Investments is, and at all times

16   mentioned herein was, a California limited liability company licensed to do business in the State of

17   California and with its principal place of business in the State of California. Plaintiff is informed and

18   believes that Grantor Investments is owned by: (i) the Farshid and Sonia Assemi Grantor Trust; and (ii) the

19   Farid Assemi Grantor Trust. As the Trustees of each trust that owns Grantor Investments are California
20   citizens, Grantor Investments is a citizen of California for purposes of diversity jurisdiction.

21            22.    Plaintiff is informed and believes that Defendant GVM is, and at all times mentioned herein

22   was, a California limited liability company licensed to do business in the State of California and with its

23   principal place of business in the State of California. Plaintiff is informed and believes that GVM is owned

24   by: (i) the Darius Assemi Revocable Trust; and (ii) Grass Valley Bluffs, Inc., a California corporation

25   with its principal place of business in Fresno, California (“Grass Valley”). As the corporation and the

26   Trustee of the trust that owns GVM is a California citizen, GVM is a citizen of California for purposes of

27   diversity jurisdiction.

28
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 1            23.    Plaintiff is informed and believes that Defendant GV AG is, and at all times mentioned

 2   herein was, a California limited liability company licensed to do business in the State of California and

 3   with its principal place of business in the State of California. Plaintiff is informed and believes that GV

 4   AG is owned by: (i) the Darius Assemi Revocable Trust; and (ii) Grass Valley. As the corporation and the

 5   Trustee of the trust that owns GV AG is a California citizen, GV AG is a citizen of California for purposes

 6   of diversity jurisdiction.

 7            24.    Plaintiff is informed and believes that Defendant Lincoln is, and at all times mentioned

 8   herein was, a California limited liability company licensed to do business in the State of California and

 9   with its principal place of business in the State of California. Plaintiff is informed and believes that Lincoln
10   is owned by: (i) the Farshid and Sonia Assemi Grantor Trust; and (ii) the Farid Assemi Grantor Trust. As

11   the Trustees of each trust that owns Lincoln are California citizens, Lincoln is a citizen of California for

12   purposes of diversity jurisdiction.

13            25.    Plaintiff is informed and believes that Defendant Maricopa is, and at all times mentioned

14   herein was, a California limited liability company licensed to do business in the State of California and

15   with its principal place of business in the State of California. Plaintiff is informed and believes that

16   Maricopa is owned by: (i) the Darius Assemi Revocable Trust; (ii) the Farid Assemi Revocable Trust;

17   (iii) the Farshid Assemi 1997 Ranch Trust; (iv) the Farid Assemi 1997 Ranch Trust; and (v) the Farshid

18   and Sonia Assemi Revocable Trust. As the Trustees of each trust that owns Maricopa are California

19   citizens, Maricopa is a citizen of California for purposes of diversity jurisdiction.
20            26.    Plaintiff is informed and believes that Defendant Panoche is, and at all times mentioned

21   herein was, a California limited liability company licensed to do business in the State of California and

22   with its principal place of business in the State of California. Plaintiff is informed and believes that

23   Panoche is owned by: (i) the Darius Assemi Revocable Trust; (ii) the Farshid and Sonia Assemi Grantor

24   Trust; and (iii) the Farid Assemi Grantor Trust. As the Trustees of each trust that owns Panoche are

25   California citizens, Panoche is a citizen of California for purposes of diversity jurisdiction.

26            27.    Plaintiff is informed and believes that Defendant Sageberry is, and at all times mentioned

27   herein was, a California limited liability company licensed to do business in the State of California and

28   with its principal place of business in the State of California. Plaintiff is informed and believes that
                                                           8
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 1   Sageberry is owned by: (i) the Darius Assemi Revocable Trust; (ii) the Farid Assemi Revocable Trust;

 2   (iii) the Farshid Assemi 1997 Ranch Trust; (iv) the Farshid and Sonia Assemi Grantor Trust; (v) the Farid

 3   Assemi 1997 Ranch Trust; (vi) the Farshid and Sonia Assemi Revocable Trust; and (vii) the Farid Assemi

 4   Grantor Trust. As the Trustees of each trust that owns Sageberry are California citizens, Sageberry is a

 5   citizen of California for purposes of diversity jurisdiction.

 6            28.    Plaintiff is informed and believes that Defendant Derek Bell is, and at all times mentioned

 7   herein was, a resident and citizen of the State of California, residing in Fresno, California.

 8            29.    Plaintiff is informed and believes that Defendant Rachel Marie White is, and at all times

 9   mentioned herein was, a resident and citizen of the State of California, residing in Fresno, California.
10                                          VENUE AND JURISDICTION
11            30.    The United States District Court for the Eastern District of California (the “Court”) has

12   subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332 because the action is civil in

13   nature, diversity of citizenship exists, and the amount in controversy exceeds the jurisdictional minimum

14   of $75,000.00, exclusive of interest and costs.

15            31.    Venue in this district is proper pursuant to 28 U.S.C. § 1391 because a substantial portion

16   of the property that is subject of the action is situated in this district.

17                                           FACTUAL BACKGROUND
18            32.    This action arises out of Borrower’s numerous defaults under Loans that Lender has made

19   to Borrower and Borrower’s indication, supported by financial models, that it will be unable to maintain
20   the Property as a result of cash flow issues.

21   I.       The Loans, the Loan Documents, and the Property Collateral Provided by Borrower
              to Lender.
22

23            33.    Lender has made multiple loans to Borrower, as summarized below. Each Loan is in default

24   by its terms, and Lender has accelerated each Loan.

25            A.     The Westlands/Fresno Loan.

26            34.    Prudential previously made those certain loans to Borrower Maricopa, ACDF, Assemi, C

27   & A, Cantua, Gradon, Granville, Lincoln, Panoche, Sageberry, and GV AG (collectively,

28   “Westlands/Fresno Borrower”) in the aggregate original principal amount of Five-Hundred Fifty
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 1   Million Dollars ($550,000,000.00) (as amended, supplemented, restated, and/or otherwise modified from

 2   time to time, the “Westlands/Fresno Loan”) pursuant to that certain Loan Agreement dated as of March

 3   11, 2022 (the “Westlands/Fresno Closing Date”) by and among Westlands/Fresno Borrower and

 4   Prudential (as the same has been or may be modified from time to time, including by that certain Loan

 5   Modification Agreement, dated April 25, 2022, that certain Second Loan Modification Agreement, dated

 6   March 28, 2023, that certain Third Loan Modification Agreement, dated March 29, 2023, and that certain

 7   Fourth Loan Modification Agreement, dated May 4, 2023, the “Westlands/Fresno Loan Agreement”;

 8   and together with all other documents evidencing, relating to, and/or securing the Westlands/Fresno Loan,

 9   including without limitation, any and all documents amending and modifying the terms of the
10   Westlands/Fresno Loan, collectively, the “Westlands/Fresno Loan Documents”). A true and correct

11   copy of the Westlands/Fresno Loan Agreement is attached hereto as Exhibit 1.

12            35.   The Westlands/Fresno Loan is evidenced by, among other things: (i) that certain

13   Promissory Note, dated as of the Westlands/Fresno Closing Date, made by Westlands/Fresno Borrower

14   and payable to Prudential, in the principal amount of $500,000,000.00 (Loan No. 717612168)

15   (“Westlands/Fresno Note 1”); and (ii) that certain Promissory Note, dated as of May 4, 2023, made by

16   Westlands/Fresno Borrower and payable to Prudential, in the principal amount of $50,000,000.00 (Loan

17   No. 717612340) (“Westlands/Fresno Note 3”, and collectively with Westlands/Fresno Note 1, as the

18   same may be amended, supplemented, restated, replaced, or otherwise modified from time to time,

19   the “Westlands/Fresno Notes”). As of July 1, 2024, the outstanding principal balance of the
20   Westlands/Fresno Loan is $550,000,000.00, the outstanding interest accrued on Westlands/Fresno Note 1

21   is $9,883,333.33 and the outstanding interest accrued on Westlands/Fresno Note 3 is $0.00. True and

22   correct copies of the Westlands/Fresno Notes are attached hereto as Exhibit 2.

23            36.   The Westlands/Fresno Loan and the Westlands/Fresno Notes are secured by, among other

24   things: (i) that certain Fresno Deed of Trust recorded March 21, 2022, as Fresno County Recorder’s No.

25   2022-0036711, as amended by that certain Modification to Deed of Trust (Fresno County) recorded March

26   30, 2023, as Fresno County Recorder’s No. 2023-0030804, by that certain Second Modification to Deed

27   of Trust (Fresno County) recorded May 9, 2023 as Fresno County Recorder’s No. 2023-0043221, and by

28   that certain Third Modification to Deed of Trust (Fresno County) executed by ACDF, C & A, Cantua,
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 1   Gradon, Granville, Maricopa, Panoche, and Sageberry to Prudential, recorded June 29, 2023 as Fresno

 2   County Recorder’s No. 2023-0060288; (ii) that certain Kern Deed of Trust, recorded March 21, 2022, as

 3   Kern County Recorder’s No. 222043952, as amended by that certain Modification to Deed of Trust (Kern

 4   County) recorded March 30, 2023 as Kern County Recorder’s No. 223036184, by that certain Second

 5   Modification to Deed of Trust (Kern County) recorded May 9, 2023 as Kern County Recorder’s No.

 6   223054287, and by that certain Third Modification to Deed of Trust (Kern County) executed by ACDF,

 7   C & A, Maricopa, and GV AG to Prudential, recorded June 29, 2023 as Kern County Recorder’s No.

 8   223075826; (iii) that certain Kings Deed of Trust, recorded March 21, 2022, as Kings County Recorder’s

 9   No. 2205342, as amended by that certain Modification to Deed of Trust (Kings County) recorded on
10   March 30, 2023 as Kings County Recorder’s No. 2304689, by that certain Second Modification to Deed

11   of Trust (Kings County) recorded May 9, 2023, as Kings County Recorder’s No. 2306898, and by that

12   certain Third Modification to Deed of Trust (Kings County) executed by Lincoln and Cantua to Prudential

13   recorded June 29, 2023, as Kings County Recorder’s No. 2309463; (iv) that certain Madera Deed of Trust,

14   recorded March 21, 2022, as Madera County Recorder’s No. 2022008052, as amended by that certain

15   Modification to Deed of Trust (Madera County) recorded on March 30, 2023 as Madera County

16   Recorder’s No. 2023006134, by that certain Second Modification to Deed of Trust (Madera County)

17   recorded May 9, 2023 as Madera County Recorder’s No. 2023008790, and by that certain Third

18   Modification to Deed of Trust (Madera County) executed by ACDF and Assemi to Prudential recorded

19   June 29, 2023 as Madera County Recorder’s No. 2023012199; and (v) that certain 2023 Deed of Trust,
20   recorded March 30, 2023 as Fresno County Recorder’s No. 2023-0030812, as amended by that certain

21   Modification to Deed of Trust (2023 Deed of Trust) recorded May 9, 2023 as Fresno County Recorder’s

22   No. 2023-0043220 and by that certain Second Modification to Deed of Trust (2023 Deed of Trust)

23   executed by Granville, Panoche, Gradon, and Sageberry to Prudential, recorded June 29, 2023 as Fresno

24   County Recorder’s No. 2023-0060287 (collectively, the “Westlands/Fresno Instrument”), granting to

25   Prudential, among other things, a lien on and/or security interest in the real property and personal property

26   described in said Westlands/Fresno Instrument (collectively, the “Westlands/Fresno Property”), certain

27   assignment(s) of leases and rents, and certain other security instruments. True and correct copies of the

28   Westlands/Fresno Instrument are attached hereto as Exhibit 3.
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                     COMPLAINT FOR RECEIVER, INJUNCTIVE RELIEF, AND RELATED RELIEF
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 1            B.    The Kern/Tulare Loan.

 2            37.   Prudential previously made those certain three loans to Borrower ACDF, Bear Flag, and

 3   Maricopa (collectively, “Kern/Tulare Borrower”) in the aggregate original principal amount of Ninety-

 4   One Million One-Hundred Twenty-Four Thousand Dollars ($91,124,000.00) (as amended, supplemented,

 5   restated, and/or otherwise modified from time to time, the “Kern/Tulare Loan”) pursuant to that certain

 6   Loan Agreement dated as of January 23, 2020 (the “ Kern/Tulare Closing Date”) by and among

 7   Kern/Tulare Borrower and Prudential (as the same has been or may be modified from time to time,

 8   including by that certain Loan Modification Agreement dated February 14, 2020, that certain Second Loan

 9   Modification Agreement dated December 24, 2020, that certain Third Loan Modification Agreement
10   dated September 9, 2021, that certain Fourth Loan Modification Agreement dated March 1, 2023, and that

11   certain Fifth Loan Modification Agreement dated October 25, 2023, the “Kern/Tulare Loan

12   Agreement”; and together with all other documents evidencing, relating to, and/or securing the

13   Kern/Tulare Loan, including without limitation, any and all documents amending and modifying the terms

14   of the Kern/Tulare Loan, collectively, the “Kern/Tulare Loan Documents”). A true and correct copy of

15   the Kern/Tulare Loan Agreement is attached hereto as Exhibit 4.

16            38.   The Kern/Tulare Loan is evidenced by, among other things: (i) that certain Promissory

17   Note, dated as of the Kern/Tulare Closing Date in the original principal amount of $70,000,000.00 (Loan

18   No. 717611848) (“Kern/Tulare Note 1”); (ii) that certain Promissory Note, dated February 14, 2020 in

19   the original principal amount of $14,700,000.00 (Loan No. 717611852) (“Kern/Tulare Note 2”); and
20   (iii) that certain Promissory Note, dated March 1, 2023 in the original principal amount of $6,424,000.00

21   (Loan No. 717612317) (“Kern/Tulare Note 5”, and collectively with Kern/Tulare Note 1 and

22   Kern/Tulare Note 2, as the same may be amended, supplemented, restated, replaced, or otherwise modified

23   from time to time, the “Kern/Tulare Notes”). As of July 1, 2024, the outstanding principal balance of the

24   Kern/Tulare Loan is $72,910,160.00, the outstanding interest accrued on Kern/Tulare Note 1 is

25   $1,143,800.00, the outstanding interest accrued on Kern/Tulare Note 2 is $124,319.28, and the outstanding

26   interest accrued on Kern/Tulare Note 5 is $201,970.56. True and correct copies of the Kern/Tulare Notes

27   are attached hereto as Exhibit 5.

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                     COMPLAINT FOR RECEIVER, INJUNCTIVE RELIEF, AND RELATED RELIEF
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 1            39.   The Kern/Tulare Loan and the Kern/Tulare Notes are secured by, among other things, that

 2   certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing with Assignment of Rents and

 3   Proceeds, Leases and Agreements, executed by Kern/Tulare Borrower to OLD REPUBLIC TITLE

 4   COMPANY as trustee for the benefit of Prudential, dated as of the Kern/Tulare Closing Date and recorded

 5   as of the Kern/Tulare Closing Date, as Kern County Recorder’s No. 220009640 and as Tulare County

 6   Recorder’s No. 2020-0004578, as amended by that certain Modification of Deed of Trust dated February

 7   14, 2020, and recorded on February 20, 2020, as Kern County Recorder’s No. 220022789 and as Tulare

 8   County Recorder’s No. 2020-0010542, by that certain Second Modification of Deed of Trust dated

 9   December 24, 2020, and recorded on December 31, 2020, as Kern County Recorder’s No. 220204171 and
10   as Tulare County Recorder’s No. 2020-0085322, by that certain Third Modification of Deed of Trust dated

11   September 9, 2021, and recorded on September 15, 2021, as Kern County Recorder’s No. 221174792 and

12   as Tulare County Recorder’s No. 2021-0067792, and by that certain Fourth Modification of Deed of Trust

13   dated March 1, 2023, and recorded on March 8, 2023, as Kern County Recorder’s No. 223026702 and as

14   Tulare County Recorder’s No. 2023-0010907 (as the same has been or may be amended, extended,

15   consolidated, assigned, or otherwise modified from time to time, the “Kern/Tulare Instrument”),

16   granting to Prudential, among other things, a lien on and/or security interest in the real property and

17   personal property described in said Kern/Tulare Instrument (collectively, the “Kern/Tulare Property”),

18   certain assignment(s) of leases and rents, and certain other security instruments. A true and correct copy

19   of the Kern/Tulare Instrument is attached hereto as Exhibit 6.
20            C.    The Devine Loan.

21            40.   Prudential previously made that certain loan to Borrower C & A (“Devine Borrower”) in

22   the aggregate original principal amount of Six Million One-Hundred Seventy-Six Thousand Dollars

23   ($6,176,000.00) (as amended, supplemented, restated, and/or otherwise modified from time to time,

24   the “Devine Loan”) pursuant to that certain Loan Agreement dated as of May 19, 2021 (the “Devine

25   Closing Date”) by and among Devine Borrower and Prudential (as the same has been or may be modified

26   from time to time, the “Devine Loan Agreement”; and the Devine Loan Agreement together with all

27   other documents evidencing, relating to, and/or securing the Devine Loan, including without limitation,

28   any and all documents amending and modifying the terms of the Devine Loan, collectively, the “Devine
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 1   Loan Documents”). A true and correct copy of the Devine Loan Agreement is attached hereto as

 2   Exhibit 7.

 3            41.   The Devine Loan is evidenced by, among other things, that certain Promissory Note, dated

 4   as of the Devine Closing Date in the original principal amount of $6,176,000.00 (Loan No. 717612116)

 5   (the “Devine Note”). As of July 1, 2024, the outstanding principal balance of the Devine Loan is

 6   $5,558,400.00 and the outstanding interest accrued on Devine Note is $101,440.80. A true and correct

 7   copy of the Devine Note is attached hereto as Exhibit 8.

 8            42.   The Devine Loan and the Devine Note are secured by, among other things, that certain

 9   Deed of Trust, Security Agreement, Crop Filing and Fixture Filing with Assignment of Rents and
10   Proceeds, Leases and Agreements, executed by Devine Borrower to OLD REPUBLIC TITLE

11   COMPANY as trustee for the benefit of Prudential, dated May 19, 2021 and recorded May 27, 2021, as

12   Fresno County Recorder’s No. 2021-0087704 (as the same has been or may be amended, extended,

13   consolidated, assigned, or otherwise modified from time to time, the “Devine Instrument”), granting to

14   Prudential, among other things, a lien on and/or security interest in the real property and personal property

15   described in said Devine Instrument (collectively, the “Devine Property”), certain assignment(s) of leases

16   and rents, and certain other security instruments. A true and correct copy of the Devine Instrument is

17   attached hereto as Exhibit 9.

18            D.    The Saviez Loan.

19            43.   Prudential previously made that certain loan to Borrower C & A and Maricopa
20   (collectively, “Saviez Borrower”), in the aggregate original principal amount of Three Million Six-

21   Hundred Forty-Two Thousand Dollars ($3,642,000.00) (as amended, supplemented, restated, and/or

22   otherwise modified from time to time, the “Saviez Loan”) pursuant to that certain Loan Agreement dated

23   as of November 8, 2021 (the “Saviez Closing Date”) by and among Borrower and Prudential (as the same

24   has been or may be modified from time to time, the “Saviez Loan Agreement”, and together with the

25   Westlands/Fresno Loan Agreement, the Kern/Tulare Loan Agreement, and the Devine Loan Agreement,

26   collectively the “Westlands Et Al. Loan Agreements”; and together with all other documents

27   evidencing, relating to, and/or securing the Saviez Loan, including without limitation, any and all

28   documents amending and modifying the terms of the Saviez Loan, collectively, the “Saviez
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 1   Loan Documents”; and the Saviez Loan Documents together with the Westlands/Fresno Loan

 2   Documents, the Kern/Tulare Loan Documents, and the Devine Loan Documents, collectively

 3   the “Westlands Et Al. Loan Documents”). A true and correct copy of the Saviez Loan Agreement is

 4   attached hereto as Exhibit 10.

 5            44.   The Saviez Loan is evidenced by, among other things, that certain Promissory Note, dated

 6   as of the Saviez Closing Date in the original principal amount of $3,642,000.00 (Loan No. 717612122)

 7   (the “Saviez Note”, and together with the Westlands/Fresno Notes, the Kern/Tulare Notes, and the Devine

 8   Note, the “Westlands Et Al. Notes” and each a “Westlands Et Al. Note”). As of July 1, 2024, the

 9   outstanding principal balance of the Saviez Loan is $3,277,800.00 and the outstanding interest accrued on
10   Saviez Note is $51,133.68. A true and correct copy of the Saviez Note is attached hereto as Exhibit 11.

11            45.   The Saviez Loan and the Saviez Note are secured by, among other things, that certain Deed

12   of Trust, Security Agreement, Crop Filing and Fixture Filing with Assignment of Rents and Proceeds,

13   Leases and Agreements, executed by Saviez Borrower to OLD REPUBLIC TITLE COMPANY as trustee

14   for the benefit of Prudential, dated November 8, 2021 and recorded November 10, 2021, as Fresno County

15   Recorder’s No. 2021-0187129 (as the same has been or may be amended, extended, consolidated,

16   assigned, or otherwise modified from time to time, the “Saviez Instrument”, and together with the

17   Westlands/Fresno Instrument, the Kern/Tulare Instrument, and the Devine Instrument, collectively

18   the “Westlands Et Al. Instrument”), granting to Prudential, among other things, a lien on and/or security

19   interest in the real property and personal property described in said Saviez Instrument (the “Saviez
20   Property”, and together with the Westlands/Fresno Property, the Kern/Tulare Property, and the Devine

21   Property, the “Westlands Et Al. Property”), certain assignment(s) of leases and rents, and certain other

22   security instruments. A true and correct copy of the Saviez Instrument is attached hereto as Exhibit 12.

23            46.   On or about May 16, 2024, Prudential executed that certain Assignment of Deed of Trust,

24   Security Agreement, Cop Filing and Fixture Filing with Assignment of Rents And Proceeds, Leases and

25   Agreement, recorded on May 21, 2024, as Fresno County Recorder’s No. 2024-0044852, thereby

26   assigning the Saviez Instrument, along with, among other things, all notes, obligations, and liens described

27   therein, to Hartford Trust (the “Saviez Assignment”). A true and correct copy of the Saviez Assignment

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 1   is attached hereto as Exhibit 13. Thereafter, PGIM REF was appointed to act as special servicer for and

 2   on behalf of Hartford Trust, including filing actions for and on behalf of Hartford Trust.

 3            E.    The PGIM REF Loan.

 4            47.   PGIM REF previously made those certain loans to Borrower ACDF, Avila, Bear Flag,

 5   C & A, DA Real Estate, Favier, FG2, Gradon, Grantland 1, Grantland 2, Grantor Investments, GVM,

 6   Lincoln, Maricopa, and Sageberry (collectively, “PGIM REF Borrower”) in the aggregate original

 7   principal amount of Eighty-Four Million Two-Hundred Fifty-Five Thousand Dollars ($84,255,000.00) (as

 8   amended, supplemented, restated, and/or otherwise modified from time to time, the “PGIM REF Loan”

 9   and together with the Westlands/Fresno Loan, the Kern/Tulare Loan, the Devine Loan, and the Saviez
10   Loan, the “Loans”) pursuant to that certain Amended and Restated Loan Agreement dated as of August

11   26, 2020 (the “PGIM REF Closing Date”) by and among PGIM REF Borrower and PGIM REF (as the

12   same has been or may be amended, extended, consolidated, assigned, or otherwise modified from time to

13   time including by that certain Loan Modification Agreement dated April 15, 2021, by that certain Second

14   Loan Modification Agreement dated April 16, 2021, by that certain Third Loan Modification Agreement

15   dated July 22, 2021, by that certain Fourth Loan Modification Agreement dated April 11, 2022

16   (the “Fourth Modification”), and by that certain Fifth Loan Modification Agreement dated October 25,

17   2023, the “PGIM REF Loan Agreement”; and together with all other documents evidencing, relating to,

18   and/or securing the PGIM REF Loan, including without limitation, any and all documents amending and

19   modifying the terms of the Loan, collectively, the “PGIM REF Loan Documents” and together with the
20   Westlands Et Al. Loan Documents, the “Loan Documents”). A true and correct copy of the PGIM REF

21   Loan Agreement is attached hereto as Exhibit 14.

22            48.   As set forth in more detail in the PGIM REF Loan Agreement, Derek Bell and Rachel

23   Marie White are non-borrower trustors in connection with certain of the Property pledged to secure the

24   PGIM REF Loan and executed a rider to the PGIM REF Loan Agreement.

25            49.   As set forth in more detail in the Fourth Modification, initial borrowers 104 PARTNERS,

26   LLC, a California limited liability company (“104 Partners”) and BISHOP FARMS 22, LLC, a California

27   limited liability company (“Bishop Farms”) were merged into ACDF.

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 1            50.   The PGIM REF Loan is evidenced by, among other things: (i) that certain Promissory Note,

 2   dated as of August 1, 2017, made by PGIM REF Borrower and payable to PGIM REF, in the original

 3   principal amount of $13,000,000.00 (Loan No. 717611236) (as amended by that certain Modification

 4   Agreement – Benchmark Index Transition, dated July 1, 2023, “PGIM REF Note 2”); (ii) that certain

 5   Promissory Note, dated as of October 12, 2018, made by PGIM REF Borrower and payable to PGIM REF,

 6   in the original principal amount of $16,000,000.00 (Loan No. 717611624) (“PGIM REF Note 3”);

 7   (iii) that certain Promissory Note, dated as of October 8, 2019, made by PGIM REF Borrower and payable

 8   to PGIM REF, in the original principal amount of $11,150,000.00 (Loan No. 717611763) (“PGIM REF

 9   Note 4”); (iv) that certain Promissory Note, dated as of November 7, 2019, made by PGIM REF Borrower
10   and payable to PGIM REF, in the original principal amount of $32,050,000.00 (Loan No. 717611810)

11   (“PGIM REF Note 5”); (v) that certain Promissory Note, dated as of April 15, 2021, made by PGIM REF

12   Borrower and payable to PGIM REF, in the original principal amount of $5,600,000.00 (Loan No.

13   717612029) (“PGIM REF Note 6”); and (vi) that certain Promissory Note, dated as of April 16, 2021,

14   made by PGIM REF Borrower and payable to PGIM REF, in the original principal amount of

15   $6,455,000.00 (Loan No. 717612063) (“PGIM REF Note 7”, and collectively with PGIM REF Note 2,

16   PGIM REF Note 3, PGIM REF Note 4, PGIM REF Note 5, and PGIM REF Note 6, as the same may be

17   amended, supplemented, restated, replaced, or otherwise modified from time to time, the “PGIM REF

18   Notes” and each a “PGIM REF Note” and together with the Westlands Et Al. Notes, the “Notes” and

19   each a “Note”). As of July 1, 2024, the outstanding principal balance of the PGIM REF Loan is
20   $60,728,900.00, the outstanding interest accrued on PGIM REF Note 2 is $4,232.44, the outstanding

21   interest accrued on PGIM REF Note 3 is $293,280.00, the outstanding interest accrued on PGIM REF

22   Note 4 is $183,417.50, the outstanding interest accrued on PGIM REF Note 5 is $496,710.90, the

23   outstanding interest accrued on PGIM REF Note 6 is $86,240.00, and the outstanding interest accrued on

24   PGIM REF Note 7 is $99,407.00. True and correct copies of the PGIM REF Notes are attached hereto as

25   Exhibit 15.

26            51.   The PGIM REF Loan and the PGIM REF Notes are secured by, among other things:

27                  a.     That certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing

28            with Assignment of Rents and Proceeds, Leases and Agreements, executed by Favier to OLD
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 1            REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated August 1, 2017

 2            and recorded on August 21, 2017, as Merced County No. 2017026836, as amended by that certain

 3            Modification of Deed of Trust dated October 12, 2018, and recorded on October 22, 2018, as

 4            Merced County No. 2018032706, by that certain Second Modification of Deed of Trust dated

 5            August 26, 2020 and recorded on August 28, 2020, as Merced County No. 2020029955, by that

 6            certain Third Modification of Deed of Trust dated September 24, 2020 and recorded on October

 7            8, 202, as Merced County No. 2020036569, by that certain Fourth Modification of Deed of Trust

 8            dated April 15, 2021 and recorded on April 20, 2021, as Merced County No. 2021017710, and by

 9            that certain Fifth Modification of Deed of Trust dated April 16, 2021 (as the same has been or may
10            be amended, extended, consolidated, assigned, or otherwise modified from time to time, the “2017

11            Deed of Trust”). A true and correct copy of the 2017 Deed of Trust is attached hereto as

12            Exhibit 16;

13                   b.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing

14            with Assignment of Rents and Proceeds, Leases and Agreements, executed by 104 Partners,

15            Bishop, DA Real Estate, Grantland 1, Grantland 2, Grantor Investments, Lincoln, and Maricopa

16            to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated October

17            12, 2018 and recorded October 22, 2018, as Fresno County No. 2018-0129050 and as Kern County

18            Recorder’s No. 218139395, as amended by that certain Modification of Deed of Trust dated

19            August 26, 2020 and recorded August 28, 2020, as Fresno County No. 2020-0112978 and as Kern
20            County Recorder’s No. 220119047, by that certain Second Modification of Deed of Trust, dated

21            September 24, 2020 and recorded October 8, 2020, as Fresno County No. 2020-0140536 and as

22            Kern County Recorder’s No. 220146496, by that certain Third Modification of Deed of Trust,

23            dated April 15, 2021 and recorded April 20, 2021, as Fresno County No. 2021-0064511 and as

24            Kern County Recorder’s No. 221073050, and by that certain Fourth Modification of Deed of Trust,

25            dated April 16, 2021 (as the same has been or may be amended, extended, consolidated, assigned,

26            or otherwise modified from time to time, the “2018 Deed of Trust”). A true and correct copy of

27            the 2018 Deed of Trust is attached hereto as Exhibit 17;

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 1                   c.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing

 2            with Assignment of Rents and Proceeds, Leases and Agreements, executed by C & A to OLD

 3            REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated October 8, 2019

 4            and recorded on October 17, 2019, as Fresno County No. 2019-0124295, as amended by that

 5            certain Modification of Deed of Trust dated August 26, 2020 and recorded on August 28, 2020, as

 6            Fresno County No. 2020-0112977, by that certain Second Modification of Deed of Trust dated

 7            September 24, 2020 and recorded on October 8, 2020, as Fresno County No. 2020-0140538, by

 8            that certain Third Modification of Deed of Trust dated April 15, 2021 and recorded on April 20,

 9            2021, as Fresno County No. 2021-0064513, and by that certain Fourth Modification of Deed of
10            Trust dated April 16, 2021 (as the same has been or may be amended, extended, consolidated,

11            assigned, or otherwise modified from time to time, the “2019A Deed of Trust”). A true and correct

12            copy of the 2019A Deed of Trust is attached hereto as Exhibit 18;

13                   d.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing

14            with Assignment of Rents and Proceeds, Leases and Agreements, executed by Maricopa, 104

15            Partners, Grantor Investments, DEREK BELL, a married man as his sole and separate property,

16            and RACHEL MARIE WHITE, an unmarried woman to OLD REPUBLIC TITLE COMPANY

17            as trustee for the benefit of PGIM REF, dated November 7, 2019 and recorded November 13,

18            2019, as Fresno County No. 2019-0136752 and as Kern County Recorder’s No. 219151263, as

19            amended by that certain Modification of Deed of Trust dated August 25, 2020 and recorded August
20            28, 2020, as Fresno County No. 2020-0112979 and as Kern County Recorder’s No. 220119048,

21            by that certain Second Modification of Deed of Trust, dated September 24, 2020 and recorded

22            October 8, 2020, as Fresno County No. 2020-0140539 and as Kern County Recorder’s No.

23            220146497, by that certain Third Modification of Deed of Trust, dated April 15, 2021 and recorded

24            April 20, 2021, as Fresno County No. 2021-0064514 and as Kern County Recorder’s No.

25            221073051, and by that certain Fourth Modification of Deed of Trust, dated April 16, 2021 (as the

26            same has been or may be amended, extended, consolidated, assigned, or otherwise modified from

27            time to time, the “2019B Deed of Trust”). A true and correct copy of the 2019B Deed of Trust is

28            attached hereto as Exhibit 19;
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 1                   e.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing

 2            with Assignment of Rents and Proceeds, Leases and Agreements, executed by Bear Flag and

 3            Gradon to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated

 4            April 15, 2021 and recorded April 20, 2021, as Fresno County No. 2021-0064510, as amended by

 5            that certain Modification of Deed of Trust dated April 16, 2021 (as the same has been or may be

 6            amended, extended, consolidated, assigned, or otherwise modified from time to time, the “2021A

 7            Deed of Trust”). A true and correct copy of the 2021A Deed of Trust is attached hereto as

 8            Exhibit 20;

 9                   f.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing
10            with Assignment of Rents and Proceeds, Leases and Agreements, executed by Avila, FG2, and

11            GVM to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated

12            April 16, 2021 and recorded April 28, 2021, as Fresno County No. 2021-0070226 (as the same has

13            been or may be amended, extended, consolidated, assigned, or otherwise modified from time to

14            time, the “2021B Deed of Trust”). A true and correct copy of the 2021B Deed of Trust is attached

15            hereto as Exhibit 21; and

16                   g.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing

17            with Assignment of Rents and Proceeds, Leases and Agreements, executed by Sageberry to OLD

18            REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated October 12, 2018

19            and recorded on October 23, 2018, as Fresno County No. 2018-0129051, as amended by that
20            certain Modification of Deed of Trust dated August 26, 2020 and recorded on August 28, 2020, as

21            Fresno County No. 2020-0112980, by that certain Second Modification of Deed of Trust dated

22            September 24, 2020 and recorded on October 8, 2020, as Fresno County No. 2020-0140537, by

23            that certain Third Modification of Deed of Trust dated April 15, 2021 and recorded on April 20,

24            2021, as Fresno County No. 2021-0064512, that certain Fourth Modification of Deed of Trust

25            dated April 16, 2021, and by that certain Fifth Modification of Deed of Trust, dated July 22, 2021

26            and recorded on July 29, 2021, as Fresno County No. 2021-0123121 (as the same has been or may

27            be amended, extended, consolidated, assigned, or otherwise modified from time to time,

28            the “Miossi Deed of Trust”, and together with the 2017 Deed of Trust, the 2018 Deed of Trust,
                                                        20
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 1            the 2019A Deed of Trust, the 2019B Deed of Trust, the 2021A Deed of Trust, and the 2021B Deed

 2            of Trust, collectively the “PGIM REF Instrument” and together with the Westlands Et Al.

 3            Instrument, the “Instruments” and each an “Instrument”), granting to PGIM REF, among other

 4            things, a lien on and/or security interest in the real property and personal property described in said

 5            PGIM REF Instrument (collectively, the “PGIM REF Property” and together with the Westlands

 6            Et Al. Property, the “Property”), certain assignment(s) of leases and rents, and certain other

 7            security instruments. A true and correct copy of the Miossi Deed of Trust is attached hereto as

 8            Exhibit 22.

 9   II.      Relevant Terms of Lender’s Loan Documents.
10            52.    With respect to the Westland/Fresno Loan Documents, Borrower has the following

11   payment obligations:

12                   a.        Westlands/Fresno Note 1 requires Westlands/Fresno Borrower to make payments

13            of interest on every January 1 and July 1, at a non-default interest rate of 4.82%. Westlands/Fresno

14            Note 1, §§ 2 and 3.1.

15                   b.        Westlands/Fresno Note 1 requires Westlands/Fresno Borrower to make payments

16            of principal on every January 1 and July 1, in the amount of $10,000,000.00, beginning on July 1,

17            2024. Westlands/Fresno Note 1, § 3.2.

18                   c.        Westlands/Fresno Note 3 requires Westlands/Fresno Borrower to make payments

19            of interest on every January 1, April 1, July 1, and October 1, at a floating rate. Westlands/Fresno
20            Note 3, § 4.1.

21            53.    With respect to the Kern/Tulare Loan Documents, Borrower has the following

22   payment obligations:

23                   a.        Kern/Tulare Note 1 requires Kern/Tulare Borrower to make payments of interest

24            on every January 1 and July 1, at a non-default interest rate of 3.80%. Kern/Tulare Note 1, §§ 2

25            and 3.1.

26                   b.        Kern/Tulare Note 1 requires Kern/Tulare Borrower to make payments of principal

27            on every January 1 and July 1, in the amount of $1,400,000.00, beginning on January 1, 2021.

28            Kern/Tulare Note 1, § 3.2.
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 1                     c.     Kern/Tulare Note 2 requires Kern/Tulare Borrower to make payments of interest

 2            on every January 1 and July 1, at a non-default interest rate of 3.80%. Kern/Tulare Note 2, §§ 2

 3            and 3.1.

 4                     d.     Kern/Tulare Note 2 requires Kern/Tulare Borrower to make payments of principal

 5            on every January 1 and July 1, in the amount of $294,000.00, beginning on January 1, 2021.

 6            Kern/Tulare Note 2, § 3.2.

 7                     e.     Kern/Tulare Note 5 requires Kern/Tulare Borrower to make payments of interest

 8            on every January 1 and July 1, at a non-default interest rate of 6.55%. Kern/Tulare Note 5, §§ 2

 9            and 3.1.
10                     f.     Kern/Tulare Note 5 requires Kern/Tulare Borrower to make payments of principal

11            on every January 1 and July 1, in the amount of $128,480.00, beginning on January 1, 2023.

12            Kern/Tulare Note 5, § 3.2.

13            54.      With respect to the Devine Loan Documents and Saviez Loan Documents, Borrower has

14   the following payment obligations:

15                     a.     The Devine Note requires Devine Borrower to make payments of interest on every

16            January 1 and July 1, at a non-default interest rate of 3.65%. Devine Note, §§ 2 and 3.1.

17                     b.     The Devine Note requires Devine Borrower to make payments of principal on every

18            January 1 and July 1, in the amount of $123,520.00, beginning on January 1, 2022. Devine Note,

19            § 3.2.
20                     c.     The Saviez Note requires Saviez Borrower to make payments of interest on every

21            January 1 and July 1, at a non-default interest rate of 3.12%. Saviez Note, §§ 2 and 3.1.

22                     d.     The Saviez Note requires Saviez Borrower to make payments of principal on every

23            January 1 and July 1, in the amount of $72,840.00, beginning on January 1, 2022. Saviez Note,

24            § 3.2.

25            55.      With respect to the PGIM REF Loan Documents, Borrower has the following

26   payment obligations:

27                     a.     PGIM REF Note 2 requires PGIM REF Borrower to make payments of interest on

28            every January 1, April 1, July 1, and October 1, at a floating rate. PGIM REF Note 2, § 3.1.
                                                         22
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 1                   b.      PGIM REF Note 2 requires PGIM REF Borrower to make payments of principal

 2            on every January 1, April 1, July 1, and October 1, in the amount of $162,500.00, beginning on

 3            April 1, 2018. PGIM REF Note 2, § 3.2.

 4                   c.      PGIM REF Note 3 requires PGIM REF Borrower to make payments of interest on

 5            every January 1 and July 1, at a non-default interest rate of 4.70%. PGIM REF Note 3, §§ 2 and 3.1.

 6                   d.      PGIM REF Note 3 requires PGIM REF Borrower to make payments of principal

 7            on every January 1 and July 1, in the amount of $320,000.00, beginning on January 1, 2019. PGIM

 8            REF Note 3, § 3.2.

 9                   e.      PGIM REF Note 4 requires PGIM REF Borrower to make payments of interest on
10            every January 1 and July 1, at a non-default interest rate of 3.50%. PGIM REF Note 4, §§ 2 and 3.1.

11                   f.      PGIM REF Note 4 requires PGIM REF Borrower to make payments of principal

12            on every January 1 and July 1, in the amount of $223,000.00, beginning on January 1, 2023. PGIM

13            REF Note 4, § 3.2.

14                   g.      PGIM REF Note 5 requires PGIM REF Borrower to make payments of interest on

15            every January 1 and July 1, at a non-default interest rate of 3.69%. PGIM REF Note 5, §§ 2 and 3.1.

16                   h.      PGIM REF Note 5 requires PGIM REF Borrower to make payments of principal

17            on every January 1 and July 1, in the amount of $641,000.00, beginning on January 1, 2020. PGIM

18            REF Note 5, § 3.2.

19                   i.      PGIM REF Note 6 requires PGIM REF Borrower to make payments of interest on
20            every January 1 and July 1, at a non-default interest rate of 3.50%. PGIM REF Note 6, §§ 2 and 3.1.

21                   j.      PGIM REF Note 6 requires PGIM REF Borrower to make payments of principal

22            on every January 1 and July 1, in the amount of $112,000.00, beginning on July 1, 2021. PGIM

23            REF Note 6, § 3.2.

24                   k.      PGIM REF Note 7 requires PGIM REF Borrower to make payments of interest on

25            every January 1 and July 1, at a non-default interest rate of 3.50%. PGIM REF Note 7, §§ 2 and 3.1.

26                   l.      PGIM REF Note 7 requires PGIM REF Borrower to make payments of principal

27            on every January 1 and July 1, in the amount of $129,100.00, beginning on July 1, 2021. PGIM

28            REF Note 7, § 3.2.
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 1            56.    In addition to the real property described above and with respect to each of the Loans,

 2   Borrower has granted Lender a first lien and security interest in all Crops (which are generally included

 3   in the definition of Property under each Instrument) located on or resulting from the Property as set forth

 4   in each Instrument. Instruments, p. 1.

 5            57.    Under the Loan Documents, “Crops” are defined to include “all annual and/or permanent

 6   crops and farm products, including without limitation, all pistachios, almonds and other vine or tree crops,

 7   all whether mature or immature and whether now or hereafter growing or to be grown on the Land, whether

 8   now or hereafter harvested and/or severed from the Land, and whether or not stored on the Land.” Id.

 9   (definition of “Crops”).
10            58.    Further to the security interest granted by Borrower in all Crops, each Instrument also

11   provides that “[t]he security agreement set forth in this Deed of Trust covers all Crops now or hereafter

12   growing on the Land, including, all Crops now or hereafter harvested and/or severed from the Land,

13   whether or not then stored on the Land, and all the products and proceeds thereof.” Id., § 5.3.

14            59.    In addition to a pledge of Crops, Borrower has also pledged to Lender a first lien and

15   security interest in the proceeds of Crops, with include “[a]ll accounts and general intangibles (as such

16   terms are defined in Article 9 of the Uniform Commercial Code) arising out of or incident to the

17   ownership, development or operation of the Land and Improvements, all accounts and general intangibles

18   arising out of Crops, and all other tangible and intangible property and rights relating to the Land and

19   Improvements or the operation thereof, or to be used in connection with the Land and Improvements.” Id.
20   (definition of “Property”); see also Id. (definition of “Rents and Proceeds”).

21            60.    Further, under Article 4 of each Instrument, each applicable Borrower made an absolute

22   and unconditional assignment of the Rents and other profits to Lender. The Loan Documents further state

23   that Plaintiff shall be authorized to, among other things, collect the Rents and any profits upon an Event

24   of Default under the Loan Documents. See, e.g. Id. § 6.1.

25            61.    As to the Loan Documents, the following terms govern events of default that may

26   arise thereunder:

27                   a.      An immediate Event of Default occurs if a Borrower does not pay any indebtedness

28            within ten (10) days of its due date. Loan Agreements, § 6.01(a).
                                                        24
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 1                    b.     An immediate Event of Default occurs upon the happening of any material adverse

 2            change to any applicable Borrower’s or Guarantor’s (as defined in the Loan Agreements) financial

 3            condition, which affects their ability to perform obligations or pay the indebtedness owed under

 4            such Loan Agreement. Id., § 6.01(g).

 5                    c.     An immediate Event of Default occurs if any Borrower or Guarantor thereunder

 6            fails to pay its debts as they become due, with an unpaid balance in excess of $500,000. Id.,

 7            § 6.01(i).

 8                    d.     Each Loan Agreement authorizes the applicable Borrower to obtain “Crop Loans”

 9            from “Crop Lenders”. Saviez Loan Agreement, § 5.06(b); Kern/Tulare Loan Agreement, § 5.06(b);
10            Devine Loan Agreement, § 5.06(b); PGIM REF Loan Agreement, § 5.06(b); Westlands/Fresno

11            Loan Agreement, § 5.07(b).

12                    e.     “Crop Lenders” refer to nationally or regionally recognized financial institution that

13            engages in agricultural lending and whose loan to the applicable Borrower is secured by crops.

14            Saviez Loan Agreement, § 5.06(a); Kern/Tulare Loan Agreement, § 5.06(a); Devine Loan

15            Agreement, § 5.06(a); PGIM REF Loan Agreement, § 5.06(a); Westlands/Fresno Loan

16            Agreement, § 5.07(a).

17                    f.     “Crop Loans” refer to loans or lines of credit secured by crops. Saviez Loan

18            Agreement, § 5.06(a); Kern/Tulare Loan Agreement, § 5.06(a); Devine Loan Agreement,

19            § 5.06(a); PGIM REF Loan Agreement, § 5.06(a); Westlands/Fresno Loan Agreement, § 5.07(a).
20                    g.     Any default under a Crop Loan, beyond the applicable grace periods, is, at Lender’s

21            discretion, an automatic Event of Default. Saviez Loan Agreement, § 5.06(c); Kern/Tulare Loan

22            Agreement, § 5.06(c); Devine Loan Agreement, § 5.06(c); PGIM REF Loan Agreement, § 5.06(c);

23            Westlands/Fresno Loan Agreement, § 5.07(c).

24                    h.     The Loan Documents require the applicable Borrower to maintain and irrigate the

25            relevant Property, and otherwise operate and maintain the trees and the relevant Property

26            consistent with prevailing good agricultural and business practices. Loan Agreements, § 4.04(a)

27            and (b); Instruments, § 3.2(a).

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 1            62.     Under the Loan Documents, upon the occurrence of an Event of Default Plaintiff is entitled

 2   to the appointment of a receiver (with respect to each Loan) as follows:

 3                    a.       Each Instrument provides that upon the occurrence of an Event of Default, as

 4            defined in the applicable Loan Agreement, each applicable Borrower agrees that the applicable

 5            Lender may seek the ex parte appointment of a receiver over the relevant Property, without bond,

 6            without notice, and without regarding to the value, adequacy, or condition of such Property or the

 7            danger of loss, removal, or material injury to such Property. Instruments, § 6.2.

 8                    b.       Each Borrower-owner disclaimed any right to notice of an application to appoint a

 9            receiver, provided that a subsequent hearing to confirm the appointment of such receiver is
10            held. Id.

11                    c.       Each Borrower-owner agreed that it shall not contest the appointment of a receiver

12            and each consented such appointment. Id.

13            63.     One or more Borrower also agreed to the appointment of a receiver in conjunction with the

14   documentation and execution of a Forbearance Agreement (defined below).

15            64.     Upon the occurrence of an Event of Default, Plaintiff is entitled to the payment of default

16   interest, late charges, and fees and costs (with respect to each Loan), including as follows:

17                    a.       Upon the occurrence of an Event of Default under any Loan, at such Lender’s

18            discretion, interest thereon will accrue at the “Default Rate,” which is the greater of 18% and four

19            percentage points above the non-default rate, but in no event greater than the maximum rate
20            permitted by applicable law. Loan Agreements, § 2.04.

21                    b.       If any Borrower fails to pay any amounts due under a Note or any other Loan

22            Document within ten (10) days of its due date, then a late charge equal to 5% of the amount of

23            such late payment shall be immediately due and payable. Id., § 2.03.

24                    c.       Each Borrower has agreed to pay all costs, fees, and expenses of the applicable

25            Lender incurred in making, administering, or collecting on each Loan, including but not limited to

26            all such amounts incurred in exercising its rights and remedies under the applicable Loan

27            Documents, and such amounts shall incur interest at the Default Rate and be secured by the

28            applicable Instrument. Westlands/Fresno Loan Agreement, § 8.09(f); Devine Loan Agreement,
                                                          26
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 1            § 8.09(f); Saviez Loan Agreement, § 8.09(f); PGIM REF Loan Agreement, § 9.10(f); Kern/Tulare

 2            Loan Agreement, § 10.09(f).

 3   III.     The U.S. Bank Loans and the Defaults Thereunder.

 4            65.     Maricopa, C & A, and one or more other Borrower (collectively, “Third-Party Loan

 5   Borrowers”), are party to that certain Second Amended and Restated Loan and Security Agreement, dated

 6   as of March 25, 2019 (the “U.S. Bank Credit Agreement”), to which certain lenders and U.S. Bank

 7   National Association (“U.S. Bank”) (as successor-in-interest to MUFG Union Bank, N.A.), in its capacity

 8   as administrative agent for the lenders party thereto, are also parties thereto.

 9            66.     Upon information and belief, the proceeds of the U.S. Bank Credit Agreement were used
10   for Third-Party Loan Borrowers’ operations, including the growing of crops through 2023, and the U.S.

11   Bank Credit Agreement is secured by crops.

12            67.     Upon information and belief, the proceeds of the U.S. Bank Credit Agreement were not

13   used for the growing or harvesting of crops by Third-Party Loan Borrowers for the crop year ending

14   in 2024.

15            68.     Upon information and belief, U.S. Bank is a nationally recognized financial institution that

16   regularly engages in agricultural lending.

17            69.     As such, the loan evidenced by the U.S. Bank Credit Agreement is a “Crop Loan”, and

18   U.S. Bank is a “Crop Lender”.

19            70.     U.S. Bank, Prudential, and PGIM REF are parties to that certain Intercreditor Agreement,
20   dated July 9, 2020 (as amended, supplemented, restated, and/or otherwise modified from time to time,

21   the “ICA”).

22            71.     Pursuant to the ICA:

23                    a.      U.S. Bank agreed that Prudential and PGIM REF had a first priority interest in

24            their real property collateral and certain related assets, and that U.S. Bank did not have an interest

25            in such collateral. ICA, §§ 8 and 9;

26                    b.      Prudential and PGIM REF agreed to subordinate their interests in crop collateral,

27            which includes, among other things, certain crops and equipment, to U.S. Bank’s interest in such

28            assets, in certain circumstances. Id., § 3;
                                                            27
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 1                   c.      Prudential and PGIM REF’s subordination shall not apply to any crops for which

 2            U.S. Bank does not provide financing to grow and complete the harvesting of crops. Id., § 4(a);

 3                   d.      In the event that Prudential or PGIM REF acquire or possess any of their real estate

 4            collateral, U.S. Bank shall have the opportunity to exercise a temporary license, allowing it to grow

 5            and harvest certain crop collateral thereon. Id., § 5; and

 6                   e.      Any default under the U.S. Bank Credit Agreement constitutes, at Prudential’s or

 7            PGIM REF’s election, an immediate event of default under the Loan Agreements and the

 8            Instruments. Id., § 6.

 9            72.    The ICA does not provide any cure rights or similar rights to U.S. Bank in the event of any
10   defaults or enforcement actions under or in connection with the Loan Agreements.

11   IV.      Initial Events of Default and Forbearance Agreement as to the Westlands/Fresno Loan.

12            73.    The stated maturity date of Westlands/Fresno Note 3 was May 1, 2024. Westlands/Fresno

13   Note 3, p. 3.

14            74.    Upon maturity, Westlands/Fresno Borrower was required to pay all unpaid amounts under

15   Westlands/Fresno Note 3. Id., § 4.4. Westlands/Fresno Borrower failed to do so and, as of the date hereof,

16   still has not tendered such payment.

17            75.    As a result of Westlands/Fresno Borrower’s failure to pay all amounts owed under the

18   Westlands/Fresno Note 3 upon its maturity – or any time thereafter – an Event of Default occurred under

19   the Westlands/Fresno Loan Agreement (the “Maturity Default”).
20            76.    Upon information and belief, U.S. Bank sent Third-Party Loan Borrowers notices of

21   default on August 8, 2023, November 9, 2023, January 25, 2024, and February 6, 2024 (the “Initial U.S.

22   Bank Defaults” and together with the Maturity Default, the “Initial Defaults”).

23            77.    Thereafter, Westlands/Fresno Borrower requested that Prudential forbear from exercising

24   its rights and remedies in connection with the Initial Defaults.

25            78.    As a result, on or about May 29, 2024, Westlands/Fresno Borrower and Prudential entered

26   into that certain Loan Modification and Forbearance Agreement, effective May 1, 2024

27   (the “Forbearance Agreement”).

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 1            79.     The Forbearance Agreement included customary terms between the parties, including an

 2   obligation by Prudential to forbear until the earlier of October 1, 2024 or the occurrence of a new default

 3   under the Westlands/Fresno Loan Documents or the Forbearance Agreement. Forbearance Agreement,

 4   Recital F. A true and correct copy of the Forbearance Agreement is attached hereto as Exhibit 23.

 5            80.     Pursuant to the Forbearance Agreement, among other thing:

 6                    a.       Westlands/Fresno Borrower agreed that the Initial Defaults occurred and were

 7            continuing. Id., Recital E and § 1;

 8                    b.       Certain of the Westlands/Fresno Loan Documents were amended, including

 9            increasing the non-default interest rate on Westlands/Fresno Loan Note 1 from 3.52% to 4.82%.
10            See, e.g., Id. § 3;

11                    c.       Westlands/Fresno Borrower covenanted and agreed that, among other things, no

12            material adverse changes would occur with respect to its ability to pay the Westlands/Fresno Loan

13            or otherwise affect its business, prospects, or financial condition. Id., § 7(y);

14                    d.       Westlands/Fresno Borrower covenanted and agreed that, among other things, no

15            default in payment or acceleration of the maturity of any indebtedness it owes to any third party

16            would occur. Id., § 7(dd);

17                    e.       Westlands/Fresno Borrower agreed that their failure to discharge their obligations

18            under the Forbearance Agreement, including failure to uphold or discharge any covenants,

19            constitutes an immediate default under the Forbearance Agreement. Id., § 8(a);
20                    f.       Westlands/Fresno Borrower agreed that any Event of Default under the

21            Westlands/Fresno Loan Documents would constitute an immediate default under the Forbearance

22            Agreement. Id., § 8(b);

23                    g.       Westlands/Fresno Borrower: (i) agreed that Prudential had the right to the

24            appointment of a receiver; (ii) consented to (and agreed not to contest) the appointment of a

25            receiver; and (iii) agreed to cooperate with such receiver in the event of a new default under the

26            Westlands/Fresno Loan Documents or the Forbearance Agreement. Id., § 9.

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 1   V.       The Subsequent Events of Default After Execution of the Forbearance Agreement.

 2            81.     Upon information and belief, U.S. Bank sent Third-Party Loan Borrowers a notice of

 3   default on June 3, 2024, asserting that certain defaults or events of default under the U.S. Bank Credit

 4   Agreement occurred (the “Subsequent U.S. Bank Default”).

 5            82.     Thereafter, on June 20, 2024, U.S. Bank sent Third-Party Loan Borrowers a notice of

 6   acceleration and demand for payment, accelerating the U.S. Bank Credit Agreement and demanding

 7   payment for all amounts outstanding under the U.S. Bank Credit Agreement, which amount purportedly

 8   equaled at least $149,000,000, plus fees, costs, and other charges. A copy of the notice is attached hereto

 9   as Exhibit 24.
10            83.     That same day, U.S. Bank sent a demand for payment to the guarantors under the U.S.

11   Bank Credit Agreement, which include many of the guarantors of the Loans, demanding payment for all

12   amounts outstanding under the U.S. Bank Credit Agreement, which amount purportedly equaled at least

13   $149,000,000, plus fees, costs, and other charges. A copy of the demand is attached hereto as Exhibit 25.

14            84.     As set forth above, Maricopa and C & A, among others, are borrowers under the U.S. Bank

15   Credit Agreement. One or both of Maricopa and C & A, among others, are also borrowers under

16   each Loan.

17            85.     The Initial U.S. Bank Defaults and the Subsequent U.S. Bank Defaults constitute defaults

18   under a “Crop Loan”, thereby constituting immediate Events of Default under each Loan Agreement

19   (collectively, the “Crop Loan Defaults”).
20            86.     As set forth above, as a result of the U.S. Bank Defaults, U.S. Bank accelerated all amounts

21   owed under the U.S. Bank Credit Agreement, causing at least $149,000,000.00 to be immediately due and

22   owing to U.S. Bank by one or more Borrower and Guarantor.

23            87.     This acceleration, and the associated defaults under the U.S. Bank Credit Agreement, affect

24   the ability of Borrower and Guarantor to perform the obligations or pay the indebtedness owed under each

25   Loan Agreement, thereby causing an immediate Event of Default under each Loan Agreement

26   (the “Material Adverse Change Defaults”).

27            88.     In addition, the Third-Party Loan Borrowers, including one or more Borrower, such as

28   Maricopa and C & A, have failed to pay the accelerated amounts under the U.S. Bank Credit Agreement,
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 1   which amounts exceed $500,000.00, thereby causing an immediate Event of Default under each Loan

 2   Agreement (the “Third-Party Indebtedness Defaults”).

 3            89.   The applicable Borrower failed to pay principal and interest on July 1 on each of

 4   Westlands/Fresno Note 1, the Kern/Tulare Notes, the Devine Note, the Saviez Note, and the PGIM REF

 5   Notes. Such amounts remain outstanding. As such, an Event of Default occurred under each Loan

 6   Agreement (the “Payment Defaults”).

 7            90.   As set forth above, Westlands/Fresno Borrower covenanted and agreed in the Forbearance

 8   Agreement that no material adverse change would occur in their ability to pay the Westlands/Fresno Loan

 9   or in their business or financial condition, and that no default in payment or acceleration of the maturity
10   of any indebtedness owed to any other party would occur.

11            91.   A breach of any covenants under the Forbearance Agreement constitutes an immediate

12   default thereunder.

13            92.   As a result of the Subsequent U.S. Bank Default, over $149,000,000 became immediately

14   due and owing, and has not been paid. This constitutes a failure of Westlands/Fresno Borrower to uphold

15   their covenants that no material adverse change would occur in their business or financial condition and

16   that they would not allow any payment default or acceleration under any third-party loan.

17            93.   Such failures constituted immediate defaults under the Forbearance Agreement

18   (the “Forbearance Covenant Defaults”).

19            94.   In addition, each of the Crop Loan Defaults, Material Adverse Change Defaults, Third-
20   Party Indebtedness Defaults, and Payment Defaults under the Westlands/Fresno Loan Documents

21   constitute immediate defaults under the Forbearance Agreement (the “Cross-Defaults” and together with

22   the Initial Defaults, Subsequent U.S. Bank Default, Crop Loan Defaults, Material Adverse Change

23   Defaults, Third-Party Indebtedness Defaults, Payment Defaults, and Forbearance Covenant Defaults,

24   the “Existing Defaults”).

25            95.   As a result of the Existing Defaults, on July 3, 2024, each applicable Lender sent each

26   applicable Borrower a notice of default, termination of forbearance, and acceleration with respect to the

27   Westlands/Fresno Loan (the “Westlands/Fresno Notice”) and a notice of default and acceleration with

28   respect to each of the Kern/Tulare Loan, the Devine Loan, the Saviez Loan, and the PGIM REF Loan
                                                        31
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 1   (collectively with the Westlands/Fresno Notice, the “Default Notices”). True and correct copies of the

 2   Default Notices are attached hereto as Exhibit 26.

 3            96.    The Westlands/Fresno Notice notified Westlands/Fresno Borrower that certain of the

 4   Existing Defaults had occurred, that the forbearance under the Forbearance Agreement had terminated,

 5   that interest had been accruing on the Westlands/Fresno Loan at the default rate since February 14, 2024,

 6   and that the Westlands/Fresno Loan had been accelerated.

 7            97.    The other Default Notices notified the applicable Borrower that certain of the Existing

 8   Defaults had occurred, that interest had been accruing on the Westlands/Fresno Loan at the default rate

 9   since June 3, 2024, and that the applicable Loan had been accelerated.
10   VI.      Without the Appointment of a Receiver to Manage the Property and Allow Lender to
              Provide Additional Funding, There Is Imminent Danger to The Property.
11
              98.    On information and belief, Borrower has provided certain crops to Touchstone Pistachio
12
     Company LLC, a processor and producer of pistachio products (“Touchstone”). On information and
13
     belief, Touchstone has common ownership and management with Borrower.
14
              99.    On information and belief, Touchstone has not paid Borrower for pistachios delivered by
15
     Borrower to Touchstone for at least the last several months.
16
              100.   Under the Loan Documents, the pistachios delivered by Borrower to Touchstone constitute
17
     “Crops” subject to the first lien security interests of Lender. Moreover, the amounts owed by Touchstone
18
     to Borrower for such Crops constitute the proceeds of Lender’s collateral and are also subject the first lien
19
     security interests of Lender.
20
              101.   Subsequent to the Default Notices and during ongoing discussions with Borrower,
21
     Borrower has indicated that:
22
                     a.      Trees on the Property need to be sprayed every six days until harvest, which will
23
              be occurring over the next several weeks. If one spray is missed then the trees may be unaffected,
24
              but missing two sprays will cause damage to the trees that will take several years to recover;
25
                     b.      Without regular watering, the pistachio trees may survive (but be damaged) but the
26
              almond trees on the Property will die. These pistachio and almond trees are subject to the first lien
27
              security interests of Lender; and
28
                                                          32
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 1                    c.       Borrower has significant cash flow and liquidity issues that are likely to result in

 2            an inability to pay payroll and maintain a sufficient workforce necessary to manage the Property

 3            and care for the trees and plants located on the Property and pay the other expenses associated with

 4            such case.

 5            102.    Further exacerbating the need to maintain the Property, including the trees and the Crops,

 6   on information and belief, pistachio harvest “takes place anywhere from late–August to early–October

 7   when the fruit is mature and the shell has split.”1 As a result, Borrower will need to harvest the pistachio

 8   Crops within the next several weeks, which will require Borrower to expend significant resources.

 9            103.    On information and belief, Borrower does not have the resources to harvest the
10   pistachio Crops.

11            104.    As a result of the foregoing, there is manifest danger of loss, deterioration, and diminution

12   of the Property, which, along with the revenue generated by its operations, is the primary source for

13   repayment of the Loans, and Plaintiff, as an interested and secured party, is threatened with material losses

14   and injuries for which it has no adequate remedy at law against Borrower.

15            105.    Under California law and as provided in the Loan Documents, Plaintiff has the right to the

16   appointment of a receiver. Plaintiff is contractually and equitably entitled to the immediate appointment

17   of a receiver to take possession of and hold, subject to the discretion of this Court, the Property, its revenue

18   and all of the other collateral that Borrower pledged as security for the Loans.

19            106.    Plaintiff intends to provide additional funding to the appointed receiver to allow it to
20   maintain and manage the Property, including the trees and plants located thereon, and to complete the

21   harvest of its Crop collateral.

22                                           FIRST CAUSE OF ACTION
                             (Breach of Contract, Appointment of Receiver, Accounting, and
23                                 Specific Performance of Right to Possession Clause
24                                 Under California Code of Civil Procedure Sections
                                      564(a), 564(b)(2), 564(b)(9), and 564(b)(11)
25                                               Against All Defendants)

26            107.    Plaintiff realleges paragraphs 1 through 106, inclusive, and by this reference incorporates

27   the same as though fully set forth herein.

28
     1
              See https://americanpistachios.org/growing-and-harvesting.
                                                               33
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 1            108.   Plaintiff is the lawful holder of the Notes, the lawful beneficiary under the various

 2   Instruments, and the lawful owner of all of the other Loan Documents.

 3            109.   Plaintiff has performed all of the terms and conditions required on their part to be

 4   performed pursuant to each of the Loan Documents and, in particular, pursuant to the Notes, the Loan

 5   Agreements, the Instruments, and the other Loan Documents.

 6            110.   As set forth above, the Loan Documents, among other things: (i) require Borrower to pay

 7   each Note upon maturity; (ii) prohibit Borrower from defaulting under any Crop Loans; (iii) prohibit any

 8   material adverse changes to Borrower’s financial condition, which affect their ability to perform

 9   obligations or pay the indebtedness; (iv) prohibit Borrower from failing to pay its debts as they become
10   due; and (v) require Borrower to pay certain periodic amounts under the Notes.

11            111.   Any defaults under any other Loan Documents constitute immediate defaults under the

12   Forbearance Agreement.

13            112.   Borrower breached the Loan Documents by committing the Maturity Default, the Initial

14   U.S. Bank Defaults, the Subsequent U.S. Bank Default, the Crop Loan Defaults, the Material Adverse

15   Change Defaults, the Third-Party Indebtedness Defaults, the Payment Defaults, the Forbearance Covenant

16   Defaults and the Cross-Defaults.

17            113.   Each of the foregoing caused a default under and breach of the Forbearance Agreement.

18            114.   Lender notified each applicable Borrower of the Existing Defaults, each applicable

19   Borrower has failed to cure the Existing Defaults, and all applicable cure periods, if any, have expired.
20            115.   As a direct and proximate result of Borrower’s numerous breaches, Lender has suffered

21   damages in an amount to be determined.

22            116.   Under Article 4 of each Instrument, the Defendant-owners made an absolute and

23   unconditional assignment of the Rents and other profits to Plaintiff. The Loan Documents further state

24   that Plaintiff shall be authorized to, among other things, collect the Rents and any profits upon an Event

25   of Default under the Loan Documents.

26            117.   Further, in Section 6.2 of each Instrument, Defendant-owners expressly consented to, and

27   agreed not to contest, the appointment of a receiver for the Property upon an Event of Default under the

28   Loan Documents.
                                                        34
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 1            118.   As detailed above, Borrower committed numerous defaults under the Loan Documents

 2   including by, among other things, failing to make its required monthly payments as and when due under

 3   the Loan Documents.

 4            119.   Also, as detailed above, pursuant to the Default Notices, Plaintiff delivered written notice

 5   to Borrower of the various Existing Defaults and accelerated and demanded payment of all amounts due

 6   under the Loan Documents.

 7            120.   Borrower failed to pay the amounts due, and cure the numerous other Existing Defaults,

 8   following receipt of the Default Notices.

 9            121.   Section 6.2 of each Instrument provides that, upon an Event of Default under the Loan,
10   Plaintiff “may apply ex parte to any court having jurisdiction to appoint a Receiver without bond to enter

11   upon and take possession of the Property to enter upon and take possession of the Property” and collect

12   the Rents and any profits, as a matter of strict right and without regard to the adequacy of the security for

13   the repayment of the Loans.

14            122.   Due to Borrower’s defaults, there is a real danger that the Property will suffer waste

15   resulting in irreparable harm to Plaintiff if a receiver is not appointed to manage and protect the Property.

16            123.   It is impractical and impossible for Plaintiff to enjoy the rights granted to them or enforce

17   the obligations of Borrower under the Loan Documents without the appointment of a receiver who has the

18   power and authority to take possession of, manage, and operate the Property, and collect the Rents and

19   any profits derived therefrom.
20            124.   Plaintiff has no plain, speedy, or adequate remedy at law to enforce the provisions of the

21   Instruments as set forth herein, and will suffer irreparable harm unless equitable relief is granted and a

22   receiver is appointed to manage, operate, and control the Property.

23            125.   By appointing a receiver, funds that might otherwise be lost will be preserved to maintain

24   and operate the Property.

25            126.   A receiver should be appointed and granted the general powers and duties of a court-

26   appointed receiver, including the power to bring and defend actions in his own name as receiver, to take

27   and keep possession of the Property, to receive rents and any profits, collect debts, to make transfers, and

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                                                         35
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 1   generally to do such acts respecting the Property as the Court may authorize pending forthcoming

 2   foreclosure under the Instruments.

 3            127.   Plaintiff is entitled to have Borrower specifically perform the express and agreed upon

 4   terms, conditions, and provisions of the Loan Documents which would enable Plaintiff to enjoy the rights

 5   granted to them under the Loan Documents, and hereby seek an order requiring Borrower, and their agents,

 6   employees, officers, directors, affiliates, and representatives, to turn over to the receiver those items set

 7   forth in the prayer of this Complaint.

 8            128.   Under the terms of the Loan Documents, Borrower agreed to pay the costs and expenses

 9   incurred by Plaintiff in connection with the exercise or enforcement of Plaintiff’s rights and remedies
10   under the Loan Documents.

11                                       SECOND CAUSE OF ACTION
                                   (For Injunctive Relief Against All Defendants)
12

13            129.   Plaintiff realleges paragraphs 1 through 128, inclusive, and by this reference incorporates

14   the same as though fully set forth herein.

15            130.   To enable the receiver to properly and effectively carry out his or her specific and general

16   duties and powers, and to prevent Plaintiff from suffering irreparable injury, Plaintiff seeks a preliminary

17   injunction and permanent injunction enjoining Defendant and their agents, partners, property managers,

18   employees, officers, directors, affiliates, assigned successors, representatives, and all persons acting

19   under, in concert with or for them, from performing the actions specified in the prayer of this Complaint.

20                                                    PRAYER

21   ON THE FIRST CAUSE OF ACTION:

22            (a)    For damages as proven at trial and interest, including prejudgment and post-

23   judgment interest;

24            (b)    That the Court enforce the provisions of California Code of Civil Procedure Sections

25   564(a), 564(b)(2), 564(b)(9), and 564(b)(11) by specifically enforcing the rents-and-profits clauses and

26   the express consent to the appointment of a receiver clauses in the Loan Documents, and appoint a receiver

27   to bring and defend actions in his or her own name as receiver, to take and keep possession of the Property,

28   to receive rents, collect debts, to compound for and compromise the same, to make transfers, and generally

                                                         36
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 1   to do such acts respecting the Property as the Court may authorize pending the forthcoming foreclosure

 2   under the Instruments;

 3            (c)     For an order decreeing that Borrower and their officers, directors, agents, property

 4   managers, architects, contractors, subcontractors, and employees, and all other persons with actual or

 5   constructive knowledge of this Order and their agents and employees, except Plaintiff:

 6                    1.         Shall relinquish and turn over possession of the Property to the receiver upon his

 7            or her appointment becoming effective;

 8                    2.         Shall turn over to the receiver and direct all property managers and other third

 9            parties in possession thereof to turn over all keys, leases, books, records, books of account, ledgers,
10            operating statements, budgets, real estate tax bills, and all other business records relating to the

11            Property, wherever located, and in whatever mode maintained, including information contained

12            on computers and any and all software relating thereto as well as all banking records, statements,

13            and canceled checks;

14                    3.         Shall turn over to the receiver all documents which pertain to all licenses, permits,

15            or government approvals relating to the Property and shall immediately advise the receiver of their

16            Federal Taxpayer Identification Numbers used in connection with the operation of the Property;

17                    4.         Shall immediately advise the receiver as to the nature and extent of insurance

18            coverage on the Property. Borrower shall immediately name the receiver as an additional insured

19            on the insurance policy(ies) for the period that the receiver shall be in possession of the Property.
20            Borrower shall be prohibited from canceling, reducing, or modifying any and all insurance

21            coverage currently in existence with respect to the Property; and

22                    5.         Shall immediately turn over to the receiver any monies (including, but not limited

23            to, security deposits, prepaid rent, or funds in property management bank accounts for the

24            Property) which represent net rental or lease payments with respect to the Property or any amounts

25            due and owing to Borrower with respect to Crops or the Rents and Proceeds thereof. Any tenants

26            occupying, using, or leasing the Property, or any portion thereof, and any parties owing funds to

27            Borrower resulting from Crops or the Rents and Proceeds thereof shall therefore make payments

28            to the receiver.
                                                             37
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 1            (d)     For an accounting by Borrower of the Rents, any amounts owed with respect to Crops or

 2   the Rents and Proceeds thereof to Borrower, and any profits;

 3            (e)     For costs of suit incurred herein to be added to the indebtedness owing by Borrower

 4   to Plaintiff;

 5            (f)     For attorneys’ fees incurred herein to be added to the indebtedness owing by Borrower to

 6   Plaintiff; and

 7            (g)     For such other and further relief as the Court may deem just and proper.

 8   ON THE SECOND CAUSE OF ACTION:

 9            (a)     That the Court enter a preliminary injunction and permanent injunction enjoining Borrower
10   and their agents, partners, property managers, employees, officers, directors, affiliates, assignees,

11   successors, and representatives and all persons acting under, in concert with, or for them, from:

12                    1.     Committing or permitting any waste on the Property or any part thereof, or

13            suffering or committing or permitting any act on the Property or any part thereof in violation of

14            law, or removing or otherwise disposing of any of the Property or the fixtures presently on the

15            Property or any part thereof;

16                    2.     Demanding, collecting, receiving, discounting, or in any other way diverting or

17            using any of the Rents and any profits from the Property;

18                    3.     Directly or indirectly interfering in any manner with the discharge of the receiver’s

19            duties or the receiver’s possession of and operation or management of the Property; and
20                    4.     Doing any act which will, or which will tend to impair, defeat, divert, prevent, or

21            prejudice the preservation of the Property, including the Rents, or any amounts due and owing to

22            Borrower with respect to Crops or Crop Collateral, and any profits, or the preservation of

23            Plaintiff’s interest in the Property, the Crops and/or Crop Collateral, and the Rents and any profits.

24            (b)     For cost of suit incurred herein to be added to the indebtedness owing by Borrower

25   to Plaintiffs;

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                                                          38
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 1            (c)     For attorneys’ fees incurred herein to be added to the indebtedness owing by Borrower to

 2   Plaintiff; and

 3            (d)     For such other and further relief as the Court may deem just and proper.

 4

 5   DATED: September 16, 2024                                Respectfully submitted,
 6                                                            SEYFARTH SHAW LLP
 7

 8                                                            By: /s/ M. Ryan Pinkston
                                                                  M. Ryan Pinkston
 9
                                                                  Attorneys for Plaintiffs
10                                                                THE PRUDENTIAL INSURANCE
                                                                  COMPANY OF AMERICA; and PGIM
11                                                                REAL ESTATE FINANCE, LLC
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